       Case 1:19-cr-00374-JMF       Document 59   Filed 06/25/20    Page 1 of 12




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :
UNITED STATES OF AMERICA            :
                                    :
     - v. -                         :                       19 Cr. 374 (JMF)
                                    :
MICHAEL AVENATTI,                   :
                                    :
                     Defendant.     :
                                    :
------------------------------------x



                  GOVERNMENT’S MEMORANDUM OF LAW
      IN OPPOSITION TO DEFENDANT’S RENEWED MOTION TO TRANSFER



                                              AUDREY STRAUSS
                                              Acting United States Attorney
                                              Southern District of New York
                                              One St. Andrew’s Plaza
                                              New York, New York 10007




Matthew Podolsky
Robert B. Sobelman
Assistant United States Attorneys
- Of Counsel -
       Case 1:19-cr-00374-JMF          Document 59        Filed 06/25/20      Page 2 of 12




                                PRELIMINARY STATEMENT

       Defendant Michael Avenatti has renewed his motion to transfer this case to the Central

District of California pursuant to Rule 21 of the Federal Rules of Criminal Procedure. As the

Honorable Deborah A. Batts already correctly concluded, evaluation of the Platt factors weighs

decisively against transfer of this case, as many of those factors, including, most notably, the

location of witnesses and the events at issue, strongly favor trial in the Southern District of New

York, where the defendant was indicted. Far from being undercut, this conclusion is further

bolstered by public health concerns created by the COVID-19 pandemic, which counsel against

requiring witnesses, law enforcement agents, and prosecutors to travel from New York to

California to try a case in which the fraud and its investigation centered around New York City.

Such an outcome would be contrary to application of the Platt factors and in the interest of no one

but the defendant himself.

       Moreover, much like his first motion to transfer, the defendant’s argument turns on a single,

faulty premise: that transfer of this case to the Central District of California would necessarily

result in consolidation of this case with another criminal case currently pending in that district,

United States v. Avenatti, No. 19 Cr. 61 (JVS) (the “California Prosecution”). (Dkt. No. 56-1

(“Def. Mem.”) at 2.1) This premise was previously rejected by Judge Batts in denying the

defendant’s initial motion to transfer and the defendant offers no basis to revisit that conclusion.

See generally United States v. Avenatti, No. 19 Cr. 374 (DAB), 2019 WL 4640232 (S.D.N.Y. Sept.

24, 2019). To the contrary, as described below, the defendant’s own recent litigation strategy in


1
        Because the defendant’s memorandum in support of his motion does not contain page
numbers, page references for the defendant’s memorandum in support of his renewed motion to
transfer are to the ECF pagination of Dkt. No. 56-1.
       Case 1:19-cr-00374-JMF           Document 59        Filed 06/25/20      Page 3 of 12




the California Prosecution—where he intends to seek severance of the counts already pending

against him—substantially undercuts any notion that the defendant intends to and would ultimately

proceed with a single trial on all of the charges pending against him in both districts.

       Accordingly, the defendant’s motion to change venue should be denied because venue is

proper in the Southern District of New York, the defendant cannot overcome the presumption of

trial in the venue in which he was charged, and there is no valid basis for transfer to the Central

District of California.

                                         BACKGROUND

I.     The Charges

       On May 22, 2019, a grand jury sitting in this District charged the defendant with wire fraud

and aggravated identity theft, in violation of Title 18, United States Code, Sections 1028A, 1343,

and 2. The charges stem from the defendant’s efforts to deceive a Manhattan-based literary agent

and Manhattan-based publisher, through the use of wires sent to Manhattan, in order to intercept

payments intended for the defendant’s client (“Victim-1”), who resides in Louisiana and Texas.

Specially, and as alleged more fully in the Indictment, from August 2018 through February 2019,

the defendant, an attorney, engaged in a scheme to defraud Victim-1, who was one of his clients

at that time, by diverting money owed to Victim-1 to the defendant’s control and use. (Indictment

¶ 1.) After assisting Victim-1 in securing a book contract with a publisher in Manhattan, the

defendant stole a significant portion of Victim-1’s advance on that contract by sending a fraudulent

and unauthorized letter purporting to contain Victim-1’s signature to Victim-1’s literary agent in

Manhattan. (Id.) That letter instructed the agent to send payments not to Victim-1 but to a bank

account controlled by the defendant. (Id.)


                                                  2
       Case 1:19-cr-00374-JMF           Document 59       Filed 06/25/20      Page 4 of 12




        The California Prosecution involves wide-ranging allegations that the defendant

embezzled millions of dollars that should have been paid to various other clients, failed to file

income tax returns and failed to pay the Internal Revenue Service (“IRS”) millions of dollars in

taxes, submitted fraudulent loan applications that included tax returns never filed with the IRS,

and concealed assets from the Bankruptcy Court. For those crimes, the defendant has been charged

with 10 counts of wire fraud, 19 tax-related offenses, two counts of bank fraud, four counts of

bankruptcy fraud, and one count of aggravated identity theft. All of the victims relevant to the

California Prosecution’s case resided within the Central District of California during the events at

issue in that case. The defendant’s trial in the Central District of California is scheduled to

commence on December 8, 2020. (See United States v. Avenatti, 19 Cr. 61 (JVS) (C.D. Cal.), Dkt.

No. 171.)

II.     The Defendant’s Prior Motion to Transfer

        On August 29, 2019, the defendant filed a motion seeking to transfer this case to the Central

District of California under Federal Rule of Criminal Procedure 21 (Dkt. No. 19.) The defendant

argued, in substance, that the California Prosecution and this case were of the same or similar

character and transfer to California would be efficient because it would result in the cases being

tried together. (Id. at 1.)

        On September 24, 2019, the Judge Batts denied the defendant’s motion. See generally

Avenatti, 2019 WL 4640232. Judge Batts examined each of the factors for discretionary transfer

of venue set out by the Supreme Court in Platt v. Minnesota Mining Co., 376 U.S. 240 (1964), and

concluded that “[a]n examination of each of the Platt factors makes clear that this prosecution

should not be transferred,” Avenatti, 2019 WL 4640232, at *2. Judge Batts found that the only


                                                 3
       Case 1:19-cr-00374-JMF            Document 59         Filed 06/25/20       Page 5 of 12




factor favoring transfer was the defendant’s place of residence, though in the circumstances the

weight of this factor was “slight[].” Id. at *3. On the other hand, Judge Batts found (1) that the

location of witnesses weighed against transfer because trial witnesses were located predominantly

in New York and not in California, id.; (2) that, because “the bulk of the alleged crime occurred in

Manhattan,” “the location of the events in issue strongly disfavors transfer,” id. at *4; and (3) that,

due to the costs of requiring both witnesses and the prosecution team to travel and relocate to

California during the trial, the expense to the parties “weighs against transfer,” id. at *5.

        Judge Batts also carefully considered the defendant’s arguments that the “the Indictment

in this prosecution is ‘virtually identical’ to ‘certain counts’ in the Indictment filed in the California

Prosecution,” and concluded that “[h]is argument fails in numerous ways.” Id. First, Judge Batts

observed that there could be no assurance that a transfer to the Central District of California would

result in the consolidation of the charges. Id. at *6. Second, Judge Batts held that “this case should

not be consolidated with the California Prosecution because the prosecutions are not ‘virtually

identical’ as Defendant alleges,” noting the lack of overlap and dissimilarities between the charges

and evidence in this case and the California Prosecution. Id.

        As this Court recently noted, Judge Batts’s findings, in addition to being manifestly correct,

constitute the law of the case. (See Dkt. No. 53.)

III.    Recent Proceedings

        On March 23, 2020, following a joint proposal by the parties (see Dkt. No. 48), the Court

adjourned the start of trial, which had previously been scheduled to commence on April 21, 2020,

to July 14, 2020, in light of the public health conditions created by the COVID-19 pandemic (see

Dkt. No. 49). The Court also directed the parties to advise the Court by May 15, 2020, as to


                                                    4
       Case 1:19-cr-00374-JMF           Document 59        Filed 06/25/20      Page 6 of 12




whether public health concerns required a further adjournment of trial. (See Dkt. No. 49.)

        On April 27, 2020, the Honorable James V. Selna, United States District Judge for the

Central District of California, presiding over the California Prosecution, held a telephonic status

conference, a transcript of which is attached hereto as Exhibit A. The defendant and his counsel

in the California Prosecution appeared by telephone (see Ex. A at 3), and at one point during the

proceedings, the defendant himself spoke (see id. at 6). During that status conference, the

defendant’s attorney represented that he intended to file a motion for “severance of the counts as

dissimilar.” (Id. at 9.)

        On May 15, 2020, the parties jointly filed a letter in this case, as directed by the Court,

stating that the parties agreed that ongoing public health concerns mandated a further adjournment

of trial in this case. (See Dkt. No. 50.) The Court adjourned the trial to October 13, 2020, and

directed the parties again to advise the Court 60 days prior to the scheduled beginning of trial as

to whether the parties believed that a further adjournment of trial was warranted by public health

conditions. (Dkt. No. 51.) Also on May 15, 2020, the defendant filed a separate letter announcing

his intention to renew his motion for a transfer of this case to the Central District of California,

“[i]n light of the COVID-19 pandemic, the alleged loss amount, and the significant judicial and

juror resources (and risk) associated with a separate trial in this matter.” (Dkt. No. 52.)

        On June 1, 2020, Judge Selna held a further telephonic status conference in the California

Prosecution, a transcript of which is attached hereto as Exhibit B. The defendant and his counsel

in the California Prosecution both appeared by telephone, and the defendant himself spoke on

multiple occasions. (See Ex. B at 3, 5, 6.) During that telephone conference as well, the

defendant’s attorney stated his intention to move for a severance in the California Prosecution.


                                                  5
        Case 1:19-cr-00374-JMF          Document 59        Filed 06/25/20      Page 7 of 12




(Id. at 17.)

        On June 11, 2020, the defendant filed the instant renewed motion for transfer of venue.

The defendant argues that, in light of the COVID-19 pandemic, this case should be transferred “to

the Central District of California so that it may be consolidated and tried together” with the

California Prosecution, which, the defendant contends, would conserve “judicial and juror

resources, as well as . . . protect[ ] . . . the public from exposure to” COVID-19. (Def. Mem. 2.)

                                           ARGUMENT

        The defendant’s renewed motion to transfer rests entirely on a faulty premise: that transfer

of this case to the Central District of California would result in consolidation of this case with the

California Prosecution, and therefore only one trial (with one jury) instead of two. In fact, this

argument has already been rejected by Judge Batts—a conclusion that the defendant offers no basis

to revisit—and is undermined by the defendant’s own litigation strategy in the California

Prosecution, where he endeavors to sever the counts already pending against him in that case into

multiple trials. What is more, the conditions created by the COVID-19 pandemic, the only basis

the defendant relies upon in support of renewal of his motion, counsel against transferring this case

to California, a result which would force witnesses principally based in this District, as well as the

prosecution team, to travel to California. The defendant, who does not dispute that venue is proper

in the Southern District of New York, has still not met his burden of showing that he is entitled to

a transfer. The defendant’s motion should be denied.

I.      Applicable Law

        “As a general rule a criminal prosecution should be retained in the original district” where

the case was charged. United States v. Posner, 549 F. Supp. 475, 477 (S.D.N.Y. 1982); accord


                                                  6
       Case 1:19-cr-00374-JMF            Document 59        Filed 06/25/20       Page 8 of 12




United States v. Kirk Tang Yuk, 885 F.3d 57, 74 n.5 (2d Cir. 2018). Discretionary transfers of

venue are governed by Federal Rule of Criminal Procedure 21(b), which provides that, “for the

convenience of parties and witnesses, and in the interest of justice, the court upon motion of the

defendant may transfer the proceeding as to that defendant or any one or more of the counts thereof

to another district.” Fed. R. Crim. P. 21(b). The “burden is on the moving defendant to justify a

transfer under Rule 21(b).” United States v. Spy Factory, Inc., 951 F. Supp. 450, 464 (S.D.N.Y.

1997) (quotation marks omitted).

       In Platt, the Supreme Court introduced a list of factors that courts routinely consider in

analyzing a defendant’s motion to transfer venue: (1) location of defendant; (2) location of possible

witnesses; (3) location of events likely to be in issue; (4) location of documents and records likely

to be involved; (5) disruption of defendant’s business unless the case is transferred; (6) expense to

the parties; (7) location of counsel; (8) relative accessibility of place of trial; (9) docket condition

of each district involved; and (10) any other special elements that might affect the transfer. Spy

Factory, Inc., 951 F. Supp. at 455 (citing Platt, 376 U.S. at 244). “No one of these considerations

is dispositive, and it remains for the court to try to strike a balance and determine which factors

are of greatest importance.” United States v. Maldonado-Rivera, 922 F.2d 934, 966 (2d Cir. 1990)

(quotation marks and brackets omitted).

II.    Discussion

       The defendant contends that “[t]he COVID-19 pandemic implicates two aspects of the

Platt analysis”—the docket condition of each district involved and any other special elements that

might affect the transfer—and further asserts that re-balancing the factors in light of such

implications should result in transfer of this case, notwithstanding Judge Batts’s prior conclusion


                                                   7
       Case 1:19-cr-00374-JMF           Document 59        Filed 06/25/20      Page 9 of 12




to the contrary. (Def. Mem. 4.) The defendant’s arguments as to each factor turn on the claim that

transfer of this case to the Central District of California would necessarily result in consolidation

with the California Prosecution and one trial on all of the charges currently pending in both cases.

(See id.) According to the defendant, such a transfer would therefore have the effect of reducing

strain on the combined dockets of the two districts involved and would protect potential jurors by

obviating the need for jurors to be called only for this case.

       That argument is wrong. First, Judge Batts previously explained that that there could be

no assurance that a transfer of this case to the Central District of California would result in the

consolidation of the charges, and, indeed, held that “this case should not be consolidated with the

California Prosecution because the prosecutions are not ‘virtually identical’ as Defendant alleges.”

Avenatti, 2019 WL 4640232, at *6. The defendant offers no argument, let alone a sufficient basis,

for reconsidering this conclusion, which represents the law of the case. (See Dkt. No. 53.) Second,

the defendant’s own litigation strategy in the California Prosecution only further confirms the

accuracy of Judge Batts’s conclusion. The defendant, though counsel, has repeatedly announced

his intention to seek severance of the counts he currently faces in the Central District of California

(which, of course, would result in multiple venires for the California Prosecution even without the

addition of the charges in this case). It is impossible to reconcile the defendant’s argument here

that a transfer would accomplish the goal of a single trial with his position before Judge Selna in

the California Prosecution. (See Ex. A at 9; Ex. B at 17.)

       Moreover, the defendant’s assessment of the effect of the COVID-19 pandemic on this

case ignores the Platt factors that weigh heavily in favor of retaining venue of this case in the

Southern District of New York, and with more force in light of the current pandemic. With respect


                                                  8
      Case 1:19-cr-00374-JMF            Document 59        Filed 06/25/20     Page 10 of 12




to the second Platt factor—location of witnesses—Judge Batts observed that the witnesses to the

defendant’s scheme who will provide “the core testimony at trial” are largely based in Manhattan,

rather than California, and concluded that that factor disfavored transfer. Avenatti, 2019 WL

4640232, at *3. Indeed, although the Government has identified some potential witnesses in

California, the majority live either in the New York City area or in Louisiana and Texas, not in

California. The defendant offers no argument as to how or why Judge Batts’ finding in this respect

was erroneous or has changed in light of the pandemic. Similarly, with respect to the final Platt

factor—special circumstances—Judge Batts noted that “relocating the entire Manhattan-based

prosecution team would be unduly burdensome to the Government and would be against the

interests of justice.” Id. at *6. Again, the defendant is notably silent as to the finding, and

relocation of witnesses and the prosecution team to California only weighs more heavily against

transfer in light of the risks associated with travel during the COVID-19 pandemic.

        Nor, for that matter, does the ninth Platt factor—docket conditions of the districts

involved—weigh in favor of transfer in light of current circumstances, as the defendant contends.

Transfer of this matter to the Central District of California—even if consolidated with the

California Prosecution, and then tried together in one trial (despite the defendant’s request for

severance)—would not only result in extending trial there by adding new, entirely separate

conduct, but would naturally cause further delay of that prosecution. The COVID-19 pandemic

has undoubtedly complicated the conduct of proceedings in this and other courts, as it has for all

manner of work, but as Judge Batts explained, “this District has a well-managed docket and the

ability to hear this matter,” id. at *5, and there is no reason now to conclude that docket conditions

favor transfer of this case to the Central District of California.


                                                   9
       Case 1:19-cr-00374-JMF           Document 59         Filed 06/25/20       Page 11 of 12




        Finally, with respect to the defendant’s professed concern for the potential jury pool (see

Def. Mem. 2-4), notwithstanding his apparent efforts to sever the counts against him in the Central

District of California, the possible number of venires does not favor transfer. Protection of

potential jurors—much like witnesses—is of course of central concern at all times, and particularly

in light of the current pandemic, but as this Court has made abundantly clear, the Court has already

taken and is continuing to take the safety of all parties, including jurors, witnesses, litigants, and

court personnel, into account when scheduling and preparing for this trial, as is the Government.

(See Dkt. Nos. 47, 49, 51, 58.) The defendant offers no reasons to believe a court in another district

will be better equipped to protect the safety of potential jurors, nor is the Government aware of

any. Trial in this District will therefore proceed as safely as possible and there is no reason to

believe that transfer to another district of this case, or any other case, is warranted in these

circumstances.

                                                * * *

        In sum, the defendant has offered nothing to disturb Judge Batts’s well-considered

findings, which apply with even greater force in light of current public health concerns. Nor should

the Court exercise its discretion to transfer this case on the basis that it might be consolidated with

the California Prosecution when such a consolidation is both unwarranted, Avenatti, 2019 WL

4640232, at *6, and counter to the defendant’s apparent litigation strategy in the Central District

of California (see Ex. A at 9; Ex. B at 17). The defendant has failed to overcome the presumption

against transfer of venue and to satisfy his burden to prove that the circumstances of his case

warrant a transfer to the Central District of California in the interest of justice.




                                                   10
       Case 1:19-cr-00374-JMF        Document 59       Filed 06/25/20     Page 12 of 12




III.   CONCLUSION

       For the reasons set forth above, the defendant’s motion should be denied.

Dated: New York, New York
       June 25, 2020

                                            Respectfully submitted,

                                            AUDREY STRAUSS
                                            Acting United States Attorney
                                            for the Southern District of New York

                                    By:      s/ Matthew Podolsky
                                            Matthew Podolsky
                                            Robert B. Sobelman
                                            Assistant United States Attorneys
                                            Tel.: (212) 637-1947/2616




                                              11
